Case 19-13008-jkf   Doc 1   Filed 05/09/19 Entered 05/09/19 09:05:44   Desc Main
                             Document     Page 1 of 7
Case 19-13008-jkf   Doc 1   Filed 05/09/19 Entered 05/09/19 09:05:44   Desc Main
                             Document     Page 2 of 7
Case 19-13008-jkf   Doc 1   Filed 05/09/19 Entered 05/09/19 09:05:44   Desc Main
                             Document     Page 3 of 7
Case 19-13008-jkf   Doc 1   Filed 05/09/19 Entered 05/09/19 09:05:44   Desc Main
                             Document     Page 4 of 7
Case 19-13008-jkf   Doc 1   Filed 05/09/19 Entered 05/09/19 09:05:44   Desc Main
                             Document     Page 5 of 7
Case 19-13008-jkf   Doc 1   Filed 05/09/19 Entered 05/09/19 09:05:44   Desc Main
                             Document     Page 6 of 7
Case 19-13008-jkf   Doc 1   Filed 05/09/19 Entered 05/09/19 09:05:44   Desc Main
                             Document     Page 7 of 7
